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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

PAUL G. LYONS, d/b/a                      §
Lyons Real Estate Investments             §
                                          §
VS.                                       §     ACTION NO. 4:17-CV-835-Y
                                          §
UNITED STATES LIABILITY                   §
INSURANCE COMPANY and                     §
JEFFREY HUMPHREYS                         §

                              FINAL JUDGMENT OF REMAND

        In accordance with the order issued this same day and Federal
Rule of Civil Procedure 58, all claims are hereby REMANDED to the

96th Judicial District Court, Tarrant County, Texas.             All costs of

Court under 28 U.S.C. § 1920 shall be borne by Defendants.

        SIGNED June 27, 2018.

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                                              TERRY R. MEANS
                                              UNITED STATES DISTRICT JUDGE




FINAL JUDGMENT - Page Solo
TRM/chr
